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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 ROTHSCHILD CONNECTED
 DEVICES INNOVATIONS LLC,

 Plaintiff,                                 C.A. No. 1:16-cv-01241-TWT

        v.

 THE COCA-COLA COMPANY,

 Defendant.


                            SCHEDULING ORDER
      Before this Court is the Joint Motion of Plaintiff Rothschild Connected

Devices Innovations, LLC and Defendant The Coca-Cola Company (collectively,

the “Parties”) to Set Case Schedule Post-Claim Construction Order (“Joint Motion”).

The Court hereby GRANTS the Joint Motion and ORDERS that the following

schedule shall apply for the remainder of the case:

                 Event                                      Date
 Close of Post-Claim Construction Fact                February 28, 2018
 Discovery
                                                      March 19, 2018
 Settlement Conference after Discovery      14 days after the close of Post-Claim
                                           Construction Fact Discovery (LR 16.3)
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                Event                                     Date
                                                    March 28, 2018
Expert Reports on Issues for Which the     30 days after close of Post-Claim
Party Bears Burden of Proof                  Construction Fact Discovery
                                                      (LPR 7.1(b))
Expert Reports on Issues for Which the              April 27, 2018
Party Does Not Bear the Burden of        30 days after initial round of expert
Proof                                          disclosures (LPR 7.1(c))
                                                      May 7, 2018
Rebuttal Expert Reports                  10 days after second round of expert
                                               disclosures (LPR 7.1(d))
                                                     May 14, 2018
Begin Depositions of Expert Witnesses     7 days after deadline for service of
                                              rebuttal reports (LPR 7.2)
                                                     June 13, 2018
End Depositions of Expert Witnesses
                                        30 days after deposition period begins
(Close of Expert Discovery)
                                                       (LPR 7.2)
                                                     July 13, 2018
Motion for Summary Judgment
                                       30 days after close of Expert Discovery
Deadline
                                                     (LR 56.1(D))


SO ORDERED on                                         .



                                   ______________________________
                                        THOMAS W. THRASH, JR.
                                   UNITED STATES DISTRICT JUDGE




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